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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-23V
                                      Filed: October 3, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
RICHARD SEWELL,               *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Guillain-Barre Syndrome; Brachial
SECRETARY OF HEALTH           *                               Neuritis
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Mark L. Krueger, Krueger & Hernandez S.C., Baraboo, WI, for petitioner.
Debra A. Filteau Begley, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

         On January 9, 2014, Richard Sewell (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that, as a result of receiving an influenza (“flu”) vaccine on October 17, 2012,
he developed Guillain-Barre Syndrome (“GBS”) and Brachial Neuritis (“BN”). Stipulation ¶ 2,
4, filed Oct. 2, 2014. Further, petitioner alleged that he experienced residual effects of his injury
for more than six months. Id. at ¶ 4.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On October 2, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu immunization caused
petitioner’s GBS and/or BN, or any other condition. Id. at ¶ 6. Nevertheless, the parties agree to
the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $65,173.50, in the form of a check payable to petitioner, Richard
       Sewell. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

        Id. at ¶ 8. The parties also stipulate to an award of attorneys’ fees and costs for petitioner
and his attorney. A decision awarding fees and costs will be issued separately.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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